       Case 19-33545-sgj7 Doc 44 Filed 11/26/19                            Entered 11/26/19 14:58:53                 Page 1 of 16


 Fill in this information to identify the case:
 Debtor name        Hoactzin Partners, L.P.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        19-33545
                                                                                                              Check if this is an
 (if known)
                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,          Sources of revenue                            Gross revenue
which may be a calendar year                                                  Check all that apply.                         (before deductions
                                                                                                                            and exclusions


From the beginning of the                                                         Operating a business
                                From    01/01/2019      to   Filing date
fiscal year to filing date:                                                       Other                                               $4,779.58
                                       MM / DD / YYYY

                                                                                  Operating a business
For prior year:                 From    01/01/2018      to     12/31/2018
                                       MM / DD / YYYY        MM / DD / YYYY       Other                                             $488,078.00

                                                                                  Operating a business
For the year before that:       From    01/01/2017      to     12/31/2017
                                       MM / DD / YYYY        MM / DD / YYYY       Other                                             $642,770.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

                                                                               Description of sources of revenue              Gross revenue
                                                                                                                              from each source
                                                                                                                              (before deductions
                                                                                                                              and exclusions
From the beginning of the
                                From    01/01/2019      to   Filing date                                                                  $0.00
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    01/01/2018      to     12/31/2018      Dividends                                             $28,319.00
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    01/01/2017      to     12/31/2017      Interest Income                                      $792,956.00
                                       MM / DD / YYYY        MM / DD / YYYY




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                        Entered 11/26/19 14:58:53              Page 2 of 16


Debtor       Hoactzin Partners, L.P.                                              Case number (if known)   19-33545
             Name

                                                                            Description of sources of revenue         Gross revenue
                                                                                                                      from each source
                                                                                                                      (before deductions
                                                                                                                      and exclusions
From the beginning of the
                              From     01/01/2019     to   Filing date                                                           $0.00
fiscal year to filing date:
                                     MM / DD / YYYY

For prior year:               From     01/01/2018     to    12/31/2018      DDIR Loans                                   $847,953.00
                                     MM / DD / YYYY        MM / DD / YYYY

For the year before that:     From     01/01/2017     to    12/31/2017      Kingdom Notes                             $10,588,334.00
                                     MM / DD / YYYY        MM / DD / YYYY

                                                                            Description of sources of revenue         Gross revenue
                                                                                                                      from each source
                                                                                                                      (before deductions
                                                                                                                      and exclusions
From the beginning of the
                              From     01/01/2019     to   Filing date                                                           $0.00
fiscal year to filing date:
                                     MM / DD / YYYY

For prior year:               From     01/01/2018     to    12/31/2018      DMM 1% RLTY                                $1,129,926.00
                                     MM / DD / YYYY        MM / DD / YYYY

For the year before that:     From     01/01/2017     to    12/31/2017      Coal Royalties                             $1,405,494.00
                                     MM / DD / YYYY        MM / DD / YYYY

                                                                            Description of sources of revenue         Gross revenue
                                                                                                                      from each source
                                                                                                                      (before deductions
                                                                                                                      and exclusions
From the beginning of the
                              From     01/01/2019     to   Filing date                                                           $0.00
fiscal year to filing date:
                                     MM / DD / YYYY

For prior year:               From     01/01/2018     to    12/31/2018      Litigation Settlement                        $594,992.00
                                     MM / DD / YYYY        MM / DD / YYYY

For the year before that:     From     01/01/2017     to    12/31/2017
                                     MM / DD / YYYY        MM / DD / YYYY

                                                                            Description of sources of revenue         Gross revenue
                                                                                                                      from each source
                                                                                                                      (before deductions
                                                                                                                      and exclusions
From the beginning of the
                              From     01/01/2019     to   Filing date                                                           $0.00
fiscal year to filing date:
                                     MM / DD / YYYY

For prior year:               From     01/01/2018     to    12/31/2018      Sale of Tengasco Interest                    $134,690.00
                                     MM / DD / YYYY        MM / DD / YYYY

For the year before that:     From     01/01/2017     to    12/31/2017
                                     MM / DD / YYYY        MM / DD / YYYY




Official Form 207              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 2
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                               Entered 11/26/19 14:58:53                      Page 3 of 16


Debtor         Hoactzin Partners, L.P.                                                       Case number (if known)       19-33545
               Name


 Part 2:         List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None

      Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
3.1. See Exhibit B
                                                                                                                     Secured debt
      Creditor's name
                                                                                                                     Unsecured loan repayments
      Street                                                                                                         Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other
      City                              State    ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


          None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. See Exhibit C
      Insider's name

      Street




      City                              State    ZIP Code

      Relationship to debtor



5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

          None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                              Entered 11/26/19 14:58:53                      Page 4 of 16


Debtor         Hoactzin Partners, L.P.                                                        Case number (if known)      19-33545
               Name

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

          None

 Part 3:         Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

          None

      Case title                             Nature of case                            Court or agency's name and address                Status of case
7.1. Republic Helicopters, Inc. v.                                                     58th District Court, Jefferson County TX
                                                                                                                                             Pending
      Prime 8 Offshore, LLC and                                                        Name
      Hoactzin Partners, L.P.                                                                                                                On appeal
                                                                                       Street
                                                                                                                                             Concluded

      Case number
      A-0203505
                                                                                       City                       State   ZIP Code

      Case title                             Nature of case                            Court or agency's name and address                Status of case
7.2. Republic Helicopters, Inc. v.                                                     32nd Dist. Court Terrebonne Parish, LA
                                                                                                                                             Pending
      Hoactzin Partners,L.P.                                                           Name
                                                                                                                                             On appeal
                                                                                       Street
                                                                                                                                             Concluded

      Case number
      186152
                                                                                       City                       State   ZIP Code

      Case title                             Nature of case                            Court or agency's name and address                Status of case
7.3. Hoactzin Partners, L.P. v.                                                        U.S. District Court Southern/Houston
                                                                                                                                             Pending
     Fieldwood Energy LLC and                                                          Name
     Omimex Petroleum, Inc.                                                                                                                  On appeal
                                                                                       Street
                                                                                                                                             Concluded

      Case number
      4:17-CV-03696
                                                                                       City                       State   ZIP Code

      Case title                             Nature of case                            Court or agency's name and address                Status of case
7.4. Hoactzin Partners, L.P. v.                                                        US District Court, Southern/Houston
                                                                                                                                             Pending
      Fieldwood Energy LLC and                                                         Name
      Omimex Petroleum, Inc.                                                                                                                 On appeal
                                                                                       Street
                                                                                                                                             Concluded

      Case number
      4:17-CV-03696
                                                                                       City                       State   ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                             Entered 11/26/19 14:58:53                     Page 5 of 16


Debtor          Hoactzin Partners, L.P.                                                      Case number (if known)     19-33545
                Name

      Case title                             Nature of case                           Court or agency's name and address              Status of case
7.5. Westwind Helicopters, Inc.                                                       122nd Dist. Court, Galveston County, TX
                                                                                                                                          Pending
      v. Prime 8 Offshore,                                                            Name
      Hoactzin Partners, LP, and                                                                                                          On appeal
      Norman Ackerman                                                                 Street
                                                                                                                                          Concluded

      Case number
      18-CV-0068
                                                                                      City                      State   ZIP Code

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe the property              Dates               Total amount
                                                               transferred                                                          or value
 11.1. QSLWM                                                                                                                           $25,000.00

         Address

         2001 Bryan Street
         Street
         Suite 1800

         Dallas                      TX       75201
         City                        State    ZIP Code

         Email or website address



         Who made the payment, if not debtor?




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                             Entered 11/26/19 14:58:53                     Page 6 of 16


Debtor          Hoactzin Partners, L.P.                                                    Case number (if known)      19-33545
                Name

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.1. Dolphin Direct Equity Partners, L.P.                    Sold Kingdom Notes                               2017                $10,588,334.00

         Address

         PO Box 16867
         Street
         Fernandina, FL 32035

         City                         State   ZIP Code

         Relationship to debtor
         Limited Partner of Debtor

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.2. Dolphin Direct Equity Partners, L.P.                    Sold Double Mountain Mining 1%                   12/31/2018           $1,129,926.00
                                                               Royalty
         Address

         PO Box 16867
         Street
         Fernandina, FL 32035

         City                         State   ZIP Code

         Relationship to debtor
         Limited Partner of Debtor

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.3. Dolphin Direct Equity Partners, L.P.                    Sold Coal Royalties                              07/31/2017           $1,405,494.00

         Address

         PO Box 16867
         Street
         Fernandina, FL 32035

         City                         State   ZIP Code

         Relationship to debtor
         Limited Partner of Debtor



Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                                Entered 11/26/19 14:58:53              Page 7 of 16


Debtor          Hoactzin Partners, L.P.                                                     Case number (if known)   19-33545
                Name

         Who received transfer?                                     Description of property transferred       Date transfer     Total amount
                                                                    or payments received or debts paid        was made          or value
                                                                    in exchange

 13.4. Tengasco, Inc.                                               Sold Tengasco Interest                    07/2018              $134,690.00

         Address

         8000 E. Maplewood Ave., Suite 130
         Street
         Greenwood Village, CO 80111

         City                          State    ZIP Code

         Relationship to debtor



 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.

 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained

                  Does the debtor have a privacy policy about that information?
                     No.
                     Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                   No. Go to Part 10.
                   Yes. Fill in below:




Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 7
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                              Entered 11/26/19 14:58:53                     Page 8 of 16


Debtor        Hoactzin Partners, L.P.                                                       Case number (if known)      19-33545
              Name


 Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

          None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

          None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

          None

 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None

 Part 12:        Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

          No
          Yes. Provide details below.




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 8
         Case 19-33545-sgj7 Doc 44 Filed 11/26/19                              Entered 11/26/19 14:58:53                    Page 9 of 16


Debtor        Hoactzin Partners, L.P.                                                       Case number (if known)      19-33545
              Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

          No
          Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

          No
          Yes. Provide details below.

 Part 13:        Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

          None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                  None

                 Name and address                                                                   Dates of service

      26a.1. Charles M. Stivers                                                                     From      09/2007         To     Present
                 Name
                 Stivers Enterprises LLC
                 Street
                 118 Richmond Road
                 Manchester                                   KY          40962
                 City                                         State       ZIP Code

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                  None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                  None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                  None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 9
       Case 19-33545-sgj7 Doc 44 Filed 11/26/19                             Entered 11/26/19 14:58:53                    Page 10 of 16


Debtor          Hoactzin Partners, L.P.                                                   Case number (if known)     19-33545
                Name

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                      Address                                    Position and nature of any interest       % of interest, if any

Dolphin Direct Equity Partners L.P.
                                  PO Box 16867                                       Limited Partner                                    98%
                                  Fernandina, FL 32035
Dolphin Advisors (Hoactzin), LLC PO Box 16867                                        General Partner                                   1.31%
                                 Fernandina, FL 32035
Philip K. Howard                          24 Gramercy Park                           Limited Partner                                   0.69%
                                          New York, NY 10003
Hugh Brooks                               2406 Vanderbilt Court                      CRO                                                 0%
                                          Rowlett, TX 75088
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                      Address                                    Position and nature of       Period during which position
                                                                                     any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.1. See Exhibit C
         Name

         Street




         City                    State   ZIP Code

         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10
      Case 19-33545-sgj7 Doc 44 Filed 11/26/19                                Entered 11/26/19 14:58:53                Page 11 of 16


Debtor        Hoactzin Partners, L.P.                                                   Case number (if known)     19-33545
              Name


 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 11/26/2019
            MM / DD / YYYY
X /s/ Hugh Brooks                                                            Printed name Hugh Brooks
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 11
9:03 AM                                                Hoactzin
11/20/19                 Case 19-33545-sgj7 Doc 44 Filed 11/26/19Partners,
                                                                   EnteredL.P.
                                                                           11/26/19 14:58:53                Page 12 of 16
                                                                       Check Detail
                                                                July 26 through October 26, 2019
           Type   Num      Date                     Name                  Item                Account   Paid Amount    Original Amount


        Check            08/19/2019   Bank Fee                                   Sovereign Bank                                  -24.10


                                                                                 Bank Fees                    -24.10             24.10
TOTAL                                                                                                         -24.10             24.10


        Check            09/16/2019   ONRR                                       Sovereign Bank                                -914.21


                                                                                 Interest Expense            -914.21            914.21
TOTAL                                                                                                        -914.21            914.21


        Check            09/26/2019   Bank Fee                                   Sovereign Bank                                  -18.08


                                                                                 Bank Fees                    -18.08             18.08
TOTAL                                                                                                         -18.08             18.08


        Check            10/22/2019   Quilling Selander Cummiskey                Sovereign Bank                              -25,000.00


                                                                                 Legal Fees               -25,000.00         25,000.00
TOTAL                                                                                                     -25,000.00         25,000.00


        Check            10/22/2019   Bank Fee                                   Sovereign Bank                                   -6.15


                                                                                 Bank Fees                     -6.15              6.15
TOTAL                                                                                                          -6.15              6.15


        Check     4774   07/31/2019   Cougar Offshore                            Sovereign Bank                               -5,920.00


                                                                                 contract Services         -5,920.00          5,920.00
TOTAL                                                                                                      -5,920.00          5,920.00


        Check     4775   07/31/2019   Creel & Associates Inc.                    Sovereign Bank                                -517.92




                                                                                                                                          Page 1 of 4
9:03 AM                                                Hoactzin
11/20/19                 Case 19-33545-sgj7 Doc 44 Filed 11/26/19Partners,
                                                                   EnteredL.P.
                                                                           11/26/19 14:58:53                          Page 13 of 16
                                                                        Check Detail
                                                                 July 26 through October 26, 2019
           Type   Num      Date                     Name                   Item               Account             Paid Amount    Original Amount

                                                                                  Regulatory expense                   -517.92            517.92
TOTAL                                                                                                                  -517.92            517.92


        Check     4776   07/31/2019   CT Corporation                              Sovereign Bank                                         -675.00


                                                                                  Business Licenses and Permits        -675.00            675.00
TOTAL                                                                                                                  -675.00            675.00


        Check     4777   07/31/2019   ERM CVS LTD                                 Sovereign Bank                                        -7,900.00


                                                                                  contract Services                  -7,900.00          7,900.00
TOTAL                                                                                                                -7,900.00          7,900.00


        Check     4778   07/31/2019   Archrock Partners                           Sovereign Bank                                        -6,411.75


                                                                                  Compressor Rental                  -6,411.75          6,411.75
TOTAL                                                                                                                -6,411.75          6,411.75


        Check     4779   07/31/2019   Gulf Coast Chemical, LLC                    Sovereign Bank                                         -204.60


                                                                                  Equipment and Tool Expenses          -204.60            204.60
TOTAL                                                                                                                  -204.60            204.60


        Check     4780   07/31/2019   Island Operating Company                    Sovereign Bank                                       -58,009.48


                                                                                  contract Services                 -58,009.48         58,009.48
TOTAL                                                                                                               -58,009.48         58,009.48


        Check     4781   07/31/2019   J. Connor Consulting, Inc.                  Sovereign Bank                                        -4,632.19


                                                                                  Regulatory expense                 -4,632.19          4,632.19
TOTAL                                                                                                                -4,632.19          4,632.19




                                                                                                                                                    Page 2 of 4
9:03 AM                                                Hoactzin
11/20/19                 Case 19-33545-sgj7 Doc 44 Filed 11/26/19Partners,
                                                                   EnteredL.P.
                                                                           11/26/19 14:58:53                  Page 14 of 16
                                                                      Check Detail
                                                               July 26 through October 26, 2019
           Type   Num      Date                    Name                  Item                  Account    Paid Amount    Original Amount

        Check     4782   07/31/2019   Kinetica                                  Sovereign Bank                                 -60,000.00


                                                                                contract Services           -60,000.00         60,000.00
TOTAL                                                                                                       -60,000.00         60,000.00


        Check     4783   07/31/2019   Martindale Consultants                    Sovereign Bank                                  -8,999.57


                                                                                Professional Consulting      -8,999.57          8,999.57
TOTAL                                                                                                        -8,999.57          8,999.57


        Check     4784   07/31/2019   Martin Energy Services, LLC               Sovereign Bank                                  -6,635.47


                                                                                Fuel and Oil                 -6,635.47          6,635.47
TOTAL                                                                                                        -6,635.47          6,635.47


        Check     4785   07/31/2019   Nova Technical Services LTD               Sovereign Bank                                 -14,476.00


                                                                                contract Services           -14,476.00         14,476.00
TOTAL                                                                                                       -14,476.00         14,476.00


        Check     4786   07/31/2019   Open Door Solutions                       Sovereign Bank                                   -592.91


                                                                                Office Expense/Supplies        -592.91            592.91
TOTAL                                                                                                          -592.91            592.91


        Check     4787   07/31/2019   Pinnacle Engineering                      Sovereign Bank                                 -41,292.67


                                                                                Engineering Services        -41,292.67         41,292.67
TOTAL                                                                                                       -41,292.67         41,292.67


        Check     4788   07/31/2019   Stokes & Spiehler Offshore                Sovereign Bank                                   -350.00


                                                                                contract Services              -350.00            350.00



                                                                                                                                            Page 3 of 4
9:03 AM                                                Hoactzin
11/20/19                 Case 19-33545-sgj7 Doc 44 Filed 11/26/19Partners,
                                                                   EnteredL.P.
                                                                           11/26/19 14:58:53                    Page 15 of 16
                                                                        Check Detail
                                                                July 26 through October 26, 2019
           Type   Num      Date                     Name                  Item               Account        Paid Amount    Original Amount

TOTAL                                                                                                            -350.00            350.00


        Check     4789   07/31/2019   Safcon, Inc                                Sovereign Bank                                   -4,623.00


                                                                                 Environmental and Safety      -4,623.00          4,623.00
TOTAL                                                                                                          -4,623.00          4,623.00


        Check     4790   07/31/2019   United Vision Logistics                    Sovereign Bank                                   -4,052.13


                                                                                 Trucking/ Transportation      -4,052.13          4,052.13
TOTAL                                                                                                          -4,052.13          4,052.13


        Check     4791   07/31/2019   VWV Services LLC                           Sovereign Bank                                   -1,894.30


                                                                                 contract Services             -1,894.30          1,894.30
TOTAL                                                                                                          -1,894.30          1,894.30


        Check     4792   07/31/2019   Worldwide Energy Services, Inc.            Sovereign Bank                                   -1,200.00


                                                                                 marketing charges             -1,200.00          1,200.00
TOTAL                                                                                                          -1,200.00          1,200.00


        Check     4793   08/06/2019   Cougar Offshore                            Sovereign Bank                                   -6,120.00


                                                                                 contract Services             -6,120.00          6,120.00
TOTAL                                                                                                          -6,120.00          6,120.00




                                                                                                                                              Page 4 of 4
9:08 AM                                                                                                                   Hoactzin Partners, L.P.
11/20/19
Accrual Basis                           Case 19-33545-sgj7 Doc 44 Filed 11/26/19      Entered
                                                                         Transactions by Account11/26/19 14:58:53                                                                                             Page 16 of 16
                                                                                                                              As of October 26, 2019




                                                                                                   EXHIBIT C
                        Type        Date    Num                 Payment To                         Payment From                            Payment For                 Memo         Amount Paid                                    Explanation
    DDIR
                 Wire          10/30/2018                                               Dolphin Direct Equity Partners, L.P    First Universal Management Co    Bond Premium      213,900.00           Loan to Hoactzin - Payment made for bond premiums
                 Transfer      11/06/2018                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    195,000.00           Loan to Hoactzin
                 Wire          11/30/2018                                               Dolphin Direct Equity Partners, L.P    Fairfield Industries             Seismic Data      39,500.00            Loan to Hoactzin - Payment made for seismic data
                 Check         12/07/2018         Dolphin Direct Equity Partners, L.P                                                                                             -400,000.00          Loan Repayment
                 JE            01/01/2019                                               Dolphin Direct Equity Partners, L.P    Accounting Expense                                 24,000.00            Loan to Hoactzin - Intercompany charge for Accounting work
                 Transfer      01/03/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    145,000.00           Loan to Hoactzin
                 Transfer      02/04/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    175,000.00           Loan to Hoactzin
                 Transfer      02/12/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    38,000.00            Loan to Hoactzin
                 Transfer      03/18/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    180,000.00           Loan to Hoactzin
                 Transfer      04/02/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    165,000.00           Loan to Hoactzin
                 Transfer      05/02/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    304,057.00           Loan to Hoactzin
                 Check         05/07/2019         Dolphin Direct Equity Partners, L.P                                                                                             -150,000.00          Loan Repayment
                 Transfer      06/13/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    195,000.00           Loan to Hoactzin
                 JE            07/02/2019                                               Dolphin Direct Equity Partners, L.P    Accounting Expense                                 24,000.00            Loan to Hoactzin - Intercompany charge for Accounting work
                 Transfer      07/15/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    283,000.00           Loan to Hoactzin
                 Transfer      07/17/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    22,000.00            Loan to Hoactzin
                 JE            07/25/2019                                               Dolphin Direct Equity Partners, L.P    Office of Natural Resources      Permit Fees       8,415.00             Loan to Hoactzin - Permit Fees
                 JE            07/31/2019                                               Dolphin Direct Equity Partners, L.P    American Express Charges                           2,473.30             Loan to Hoactzin - Various administrative charges
                 Transfer      08/22/2019                                               Dolphin Direct Equity Partners, L.P                                     Funds Transfer    242,000.00           Loan to Hoactzin
                 Wire          09/06/2019                                               Dolphin Direct Equity Partners, L.P    First Universal Management Co.   Bond Premium      72,534.00            Loan to Hoactzin - Payment made for bond premiums
                 Wire          09/13/2019                                               Dolphin Direct Equity Partners, L.P    Charles Stivers                  Tax Return Prep   4,850.00             Loan to Hoactzin - Payment made for tax return preparation
    Total DDIR                                                                                                                                                                          1,783,729.30
TOTAL                                                                                                                                                                                   1,783,729.30




                                                                                                                                                                                                                                                                    Page 1 of 1
